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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                  Case # 5:15cr4-001


WILLIAM FRANCIS FINCH                                 USM # 23283-017

                                                      Defendant’s Attorney:
                                                      James H. White, Jr. (Retained)
                                                      229 McKenzie Avenue
                                                      Panama City, Florida 32401


___________________________________

                            JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts 1 and 2 of the indictment on April 16, 2015.
Accordingly, IT IS ORDERED that the defendant is adjudged guilty of such counts which involve
the following offenses:


        TITLE/SECTION               NATURE OF                 DATE OFFENSE             COUNT
           NUMBER                    OFFENSE                   CONCLUDED




 18 U.S.C. § 241             Conspiracy to Commit Civil        August 5, 2014             1
                             Rights Violation

 18 U.S.C. §§ 242 and 2      Civil Rights Violation            August 5, 2014             2

The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.




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IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.


                                     Date of Imposition of Sentence:
                                     October 21, 2015


                                     s/Robert L. Hinkle
                                     United States District Judge
                                     October 26, 2015




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                                   PROBATION

     The defendant is hereby placed on probation for a term of 3 years on
Counts 1 and 2, to run concurrently.

       While on probation, the defendant shall not commit another federal, state, or
local crime and shall not illegally possess a firearm, ammunition, or destructive
device. The defendant shall also comply with the standard conditions that have
been adopted by this court (set forth below). If this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay
any such fine or restitution.

       For offenses committed on or after September 13, 1994: The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from placement on probation and
at least two periodic drug tests thereafter, as directed by the probation officer.

                       STANDARD CONDITIONS OF PROBATION

      The defendant shall comply with the following standard conditions that have
been adopted by this court.

1. the defendant shall not leave the judicial district without the permission of the
court or probation officer;

2. the defendant shall report to the probation officer and shall submit a truthful and
complete written report within the first five days of each month;

3. the defendant shall answer truthfully all inquiries by the probation officer and
follow the instructions of the probation officer;

4. the defendant shall support his or her dependents and meet other family
responsibilities;

5. the defendant shall work regularly at a lawful occupation, unless excused by the
probation officer for schooling, training, or other acceptable reasons;

6. the defendant shall notify the probation officer at least 10 days prior to any
change in residence or employment;



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7. the defendant shall refrain from excessive use of alcohol and shall not purchase,
possess, use, distribute, or administer any controlled substance or any
paraphernalia related to any controlled substances, except as prescribed by a
physician;

8. the defendant shall not frequent places where controlled substances are illegally
sold, used, distributed, or administered;

9. the defendant shall not associate with any persons engaged in criminal activity
and shall not associate with any person convicted of a felony unless granted
permission to do so by the probation officer;

10. the defendant shall permit a probation officer to visit him or her at any time at
home or elsewhere and shall permit confiscation of any contraband observed in
plain view of the probation officer;

11. the defendant shall notify the probation officer within 72 hours of being
arrested or questioned by a law enforcement officer;

12. the defendant shall not enter into any agreement to act as an informer or a
special agent of a law enforcement agency without the permission of the court; and

13. as directed by the probation officer, the defendant shall notify third parties of
risks that may be occasioned by the defendant’s criminal record or personal history
or characteristics and shall permit the probation officer to make such notifications
and to confirm the defendant’s compliance with such notification requirement.

14. if this judgment imposes a fine or a restitution obligation, it shall be a
condition of supervision that the defendant pay any such fine or restitution in
accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment.




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                        ADDITIONAL CONDITIONS OF PROBATOIN


         The defendant shall also comply with the following additional conditions of probation:




                   1. The defendant must not own or possess a firearm, dangerous
              weapon, or destructive device.

                     2. The defendant must submit to testing to determine whether he
              is using drugs or alcohol.

                    3. The defendant must successfully participate in substance-abuse
              treatment consisting of an initial evaluation—by a probation officer or
              outside provider—and any further appropriate treatment. The treatment
              may include cognitive behavioral therapy.

                    4. The defendant must participate in a program of mental-health
              treatment.

                    5. The defendant must provide the probation officer all requested
              financial information, business or personal.

                     6. The defendant must serve six (6) months on home detention,
              with electronic monitoring, beginning at a time set by the probation
              officer. While on home detention, the defendant must be in the
              defendant’s residence except for absences approved by the probation
              officer in advance for gainful employment, community service, religious
              services, medical care, education or training, or other similar purposes.
              The costs of home detention must be paid by the defendant.




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Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.


__________________________________                                 ______________
Defendant                                                          Date




___________________________________                                ______________
U.S. Probation Officer/Designated Witness                          Date




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                               CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).


                 SPECIAL                                   FINE                 RESTITUTION
           MONETARY ASESSEMENT
                  $200.00                                   -0-                        -0-


                            SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed.

No fine imposed.




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                                    SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties

Payment of the total fine and other criminal monetary penalties shall be due as follows:

in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.

The defendant shall forfeit the defendant’s interest in the following property to the United States:




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